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@AO 245B (Rev. 12/03) Judgment in a Criminal Case LBF/tmh (14846)
Sheet 1

UNITED STATES DISTRICT COURT

 

 

 

WESTERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Number: 1:09CR00142-001
Marcelino Femandez USM Number: 17538-055
Phillip Dabney

 

Defendant’s Attorney

THE DEFENDANT:
IX] pleaded guilty to count(s) 1 and 2 of the Superseding Information

C pleaded nolo contendere to count(s)
which was accepted by the court.

 

     

 

Sop Ewe,
(1 was found guilty on count(s) STES HISTAIC. OX
after a plea of not guilty. cane

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §846, Conspiracy to Possess With Intent to Distribute and Distribution 05/05/09 1
§841(a)(1), and of 1 Kilogram of More of Heroin and 500 Grams or More of
§841(b)(1)(A) Cocaine
18 U.S.C. §924(c)(1)(A) (iit) Possession of a Firearm in Furtherance of a Drug Trafficking Crime 05/05/09 2
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
( The defendant has been found not guilty on count(s)

1-5, 7-19, 21, and 22 of the 0 is
Superseding Indictment

 

[XJ Count(s) {XJ are dismissed on the motion of the United States.

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

February 3,0 2 Ff
Date of Imp: sition of Ji

Sigwature of Judge

  
  

William M. Skretny, Chief U.S. District Judge
Name and Title of Judge

2 Lie [ /2—

Date

 

 
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AO 245B (Rev. 12/03) Judgment in Criminal Case LBF/tmh (14846)
Sheet 2 — Imprisonment

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DEFENDANT: Marcelino Fernandez
CASE NUMBER: 1:09CR00142-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 88 months on Count 1 and 60 months on Count 2 to run consecutive to Count 1 for a total incremental

sentence of 148 months. This sentence shall run concurrent to any remaining term of imprisonment he is
presently serving in New York State custody under Indictment No.: 00248-2009. Pursuant to §5G1.3(b),
this sentence has been adjusted downward 32 months that he has already served in New York State custody
under Docket No. 00248-2009 for conduct comprised of and relevant to the instant Federal offense which
will not be credited by the Bureau of Prisons.

The cost of incarceration fee is waived
(] The court makes the following recommendations to the Bureau of Prisons:
[xX] The defendant is remanded to the custody of the United States Marshal.

C$ The defendant shall surrender to the United States Marshal for this district:
O at Olam O pm _ on
C1 as notified by the United States Marshal.

 

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O sbefore 2 p.m. on

 

OO sas notified by the United States Marshal.

O sas notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 

 
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AO 245B (Rev. 12/03) Judgment in a Criminal Case LBF/tmh (14846)
Sheet 3 — Supervised Release

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DEFENDANT: Marcelino Fernandez
CASE NUMBER: 1:09CR00142-001

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
five (5) years on each Count to run concurrently

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

C] The above drug testing condition is suspended, based 6n the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as required by the Justice for All Act of 2004. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

Oo ORB

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) _ the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) _ the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) — as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the

defendant’s compliance with such notification requirement.

 

 
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AO 245B (Rev. 12/03) Judgment in a Criminal Case LBF/tmh (14846)
. Sheet 3C — Supervised Release
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DEFENDANT: Marcelino Fernandez

CASE NUMBER: 1:09CR00142-001

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall submit to substance abuse testing, to include urinalysis and other testing. Details of such

testing to be approved by the U.S. Probation Office. If substance abuse is indicated by testing, the defendant is to
complete a drug/alcohol evaluation and enter into any treatment as deemed necessary by the U.S. Probation Office
and/or the Court. The defendant is not to leave treatment until discharge is agreed to by the U.S. Probation Office
and/or the Court. While in treatment and after discharge from treatment, the defendant is to abstain from the use of
alcohol. The defendant is required to contribute to the cost of services rendered (co-payment in the amount to be
determined by the U.S. Probation Office based on the ability to pay or availability of third party payment).

The defendant shall submit to a search of his person, property, vehicle, place of residence or any other property
under his control, based upon reasonable suspicion, and permit confiscation of any evidence or contraban
discovered.

The defendant shall obtain and maintain gainful employment.

 

 
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AO 245B (Rev. 12/03) Judgment in a Criminal Case LBF/tmh (14846)
Sheet 5 ——- Criminal Monetary Penalties

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DEFENDANT: Marcelino Fernandez
CASE NUMBER: 1:09CR00142-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200 $ 0 $ 0

C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $

C1 Restitution amount ordered pursuant to plea agreement $

LJ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[J] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 the interest requirement is waived forthe (J fine (1 restitution.

(1 the interest requirement for the (1 fine 1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 

 
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AO 245B — (Rev. 12/03) Judgment in a Criminal Case LBF/tmh (14846)
Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6

 

DEFENDANT: Marcelino Fernandez
CASE NUMBER: 1:09CRO00142-001

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A (C1 Lump sum payment of $ due immediately, balance due

OO snot later than , or
O_ in accordance Oc OD, O E,or UF below; or

{X] Payment to begin immediately (may be combined with [IC, CID,or [IF below); or
C (0 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D CO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  &_ Special instructions regarding the payment of criminal monetary penalties:
The defendant shall pay a special assessment of $200, which shall be due immediately. If incarcerated, payment shall begin under

the Bureau of Prisons Inmate Financial Responsibility Program. Payments shall be made to the Clerk, U.S. District Court
(WD/NY), 2 Niagara Square, Buffalo, New York 14202.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa ent of criminal monetary penalties is due durin
imprisonment. All criminal mone penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

01 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

O

The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

XJ] The defendant shall forfeit his interest in the property specifically set forth in Section VII of the Plea Agreement and included herein.

ties, and (8) costs, including cost of prosecution and court costs.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena

 
